                 Case 2:17-cr-00053-JAM Document 86 Filed 01/11/18 Page 1 of 2




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 9                                IN THE UNITED STATES DISTRICT COURT

10                                   EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                             2:17-CR-00053-JAM
13                   Plaintiff,
                                                           STIPULATION AND ORDER FOR
14          v.                                             ANCILLARY HEARING AND ASSOCIATED
                                                           BRIEFING SCHEDULE
15   PAUL FOURNIER,
16                   Defendant.
17

18          The United States of America through its undersigned counsel, Nirav K. Desai and Kevin C.

19 Khasigian, Assistant United States Attorneys, and counsel for Petitioner National Union Fire Insurance

20 Company of Pittsburgh, Pa. (“National Union”), Matthew S. Foy and Michael A. Pursell, respectfully

21 request that the Court schedule the ancillary hearing on Petitioner’s filing [ECF No. 80] for April 10,

22 2018 at 9:15 a.m. Subject to the Court's approval, the United States and Petitioner National Union

23 further propose the following briefing schedule: the Government to respond 14 days prior to Defendant

24 Fournier’s April 10, 2018 sentencing hearing, and Petitioner to reply no later than 7 days thereafter. The

25 ancillary hearing date and associated briefing schedule are requested to sync the ancillary litigation and

26 Defendant Fournier’s sentencing. Additionally, this is a multi-defendant case involving various seized

27 assets and potential third party interests, thus the above request will allow the parties to coordinate

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                                                          1                 Stipulation and Order re Ancillary Hearing and
                                                                            Briefing Schedule
              Case 2:17-cr-00053-JAM Document 86 Filed 01/11/18 Page 2 of 2




 1 ancillary proceedings for any assets forfeited from co-defendants in this case.

 2          WHEREFORE, based on the foregoing, and for good cause shown, the United States and

 3 Petitioners hereby stipulate that the ancillary hearing be scheduled on April 10, 2018 at 9:15 a.m.,

 4 the Government to respond 14 days prior, and Petitioner to reply 7 days following any opposition.

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 6 Dated: 1/9/18                                         McGREGOR W. SCOTT
                                                         United States Attorney
 7

 8                                               By:     /s/ Kevin C. Khasigian
                                                         NIRAV K. DESAI
 9                                                       KEVIN C. KHASIGIAN
                                                         Assistant U.S. Attorneys
10

11 Dated: 1/9/18
                                                 By:     /s/ Michael A. Pursell
12
                                                         MATTHEW S. FOY
13                                                       MICHAEL A. PURSELL
                                                         Counsel for Petitioner National Union
14                                                       (Authorized by phone)
15

16
                                                     ORDER
17

18          IT IS SO ORDERED.

19 Dated: 1/10/2018                                             /s/ John A. Mendez_____________
                                                                JOHN A. MENDEZ
20                                                              United States District Court Judge

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                                                         2                 Stipulation and Order re Ancillary Hearing and
                                                                           Briefing Schedule
